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                                                                   Fl LED IN WELD COUNT'r
                                                                      COM BH~ED COURTS

 D  Small Claims D County Court IBl District Court                 LJ19 S·p 17 Pr1 3 38
 D  Probate Court D Juvenile Court D Water Court
Weld County, Colorado
Court Address : 901 9th Ave
                Greeley, CO 80631
[Insert appropriate party designations & names]
PLAINTIFF: ETHEL SUSANNE HALTER

V.


DEFENDANT: WELD COUNTY SHERIFF'S OFFICE,
DOES 1 -X INFINATE, ROES 1 -X INFINATE
                                                                      +       COURT USE ONLY       +
Attorney or Party Without Attorney: (Name & Address)                 Case Number:
Ethel Susanne Halter
7200 E State Highway 14 Lot 5
Fort Collins, CO 80524
                                                                     Div. :          Ctrm :
Phone Number: 970-988-0404
FAX Number: N/A
E-mail : suehalter@gmail.com
Atty. Reg. #: NIA
                                  AMENDED COMPLAINT

Plaintif, Ethel Susanne Halter, in proper person, complains against Defendants, Weld County
Sheriffs Office, Does 1 - X , lnfinate, and, Roes 1 - X, lnfinate.

                                        I. PARTIES

1. Plaintiff, Ethel Susanne Halter, (hereinafter "Plaintiff') is an individual who is currently, and
was at all relevant times herein, a resident of the State of Colorado, County of Weld , City of
Fort Collins.

2.   Defendant, Weld County Sheriffs Office, (hereinafter "Defendant") is an agency who is
currently, and was at all relevant times herein, a resident of the State of Colorado, County of
Weld, City of Greeley.

3. All of the acts and/or failures to act alleged herein were duly performed by and/or are
attributable to defendants, individually or acting by and through their agents and employees.
Said acts and/or failures to act were within the scope of any agency or employment, or were
ratified by defendants.

4. Defendants, Does 1 - X , lnfinate, and , Roes 1 - X, lnfinate, (hereinafter "Defendant") is an
agency who is currently, and was at all relevant times herein , a resident of the State of Colorado,
County of Weld , City of Greeley.

5.   The names and capacities, whether inficidual, corporate, associate, or otherwise, of
defendants and/or their alter egos sued are presently unknown, and Plaintiff will amend this
complaint to insert the name (s) when ascertained .

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                                                 II. FACTS




6. The actions of Defendant Officers as described herein, while acting under color of state
law, deprived Plaintiff of her rights, privileges, liberties, and immunities secured by the
Constitution of the United States of America, including the right to freedom from unreasonable
search and seizure as guaranteed by the Fourth Amendment of the Constitution of the United
States of America, made actionable pursuant to 42 U.S.C. §1983 .

7. On September 7, 2017 Plaintiff called 911 because she found her husband in their home
unresponsive and not breathing. While she was on the phone with the 911 operator, giving her
husband CPR, the Paramedics along with the Defendants' came into her home and took over.
At that time there were several Paramedics and two Defendant Deputies who initially responded
to her 911 call . Her husband was transferred into the living room from the hall where she found
him. Paramedics continued performing life saving measures on him for about 40 minutes and
ultimately were not able to save his life and they pronounced his death in the living room .

8. At that point, somebody, the Plaintiff cannot remember who, suggested they bring in a
"grief counselor" from the hospital to help console he Plaintiff. The Defendant's then asked
the Plaintiff if they could search her home stating they just wanted to make sure her husband
hadn't fallen and hit his head. The Plaintiff respectfully declined and was overwhelmed by what
happened next. The Defendant's immediately ushered her outside and would not allow her to
go back in and blocked her from viewing what was going on inside. The Plaintiff complied with
all the Defendant's orders and remained respectful the entire time. The Defendant hospital
worker showed up and took over watching the Plaintiff so the other Defendant Officer could
go back inside while other Defendant Officers began to show up going in and out of her home.
There began to be a large scene outside attracting so much attention that the Plaintiff's land
lord showed up asking what was going on. The Defendant's did not put crime scene tape up,
they did not tell the Plaintiff that they suspected her of any wrongdoing, they did not advise
her of her rights, and they did not ever tell her that she was being detained or investigated.

9. It wasn't until the Plaintiff was able to reach her mother by phone which was several
hours later after they had begun their lawless search and seizure that they began to wrap
things up.

10. They brought her husband's body and the illegally seized items which they hid inside of
the body bag, with her husband's body, and carried it all outside and placed it the Coroner's
vehicle. They even went so far as to tell the Plaintiff that it was normal for body bags to make
a lot of noise when there is a dead body inside of it. The Plaintiff noticed that the body bag
was very large, was quite full, and was very noisy sounding as if her entire household was
in it.

11. The Plaintiff made the agonizing decision to have her husband' s body cremated . The
funeral home asked her if she wanted to watch them cremate his body. She told them yes
and they told her they would call her. She did not hear back from them until it was time for
her to pick up his ashes.



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12. The Plaintiff then began encountering many Defendant Undercover Officers coming up
to her, engaging her, and ultimately working their way back inside of her home, stealing more
of her property, causing extensive damage to her home and vehicles, and other various items,
including but not limited to the Plaintiff's expensive laptop computer which held many of
the Plaintiff's photos, videos, her personal information, her banking information, and most
other things that are commonly found in a personal computer. They even went so far as to
cut off all the ends of the cords that were laying around. Some of the Plaintiff's items were
damaged and/or stolen during the Defendants lawless search and seizure while others were
later by various Defendants. Pictures of some Defendant Undercover Officers and/or Defendant
Undercover Informants.




13. The Defendants continue to carry out this disturbing and destructive pattern of invading
and destroying the Plaintiff's life even to this day. She does not know all the Defendants proper
names, she only knows some by their alter ego's and by the names they gave her while working
in an official role as Defendant Undercover Officers/Informants.

14. The Defendants continue to surveil the Plaintiff still depriving her of her Fourth Amendment
Rights of the U.S. Constitution that provides the right of the people to be secure in their persons,
houses, papers, and effects, against unreasonable searches and seizures, and shall not be violated,
and no Warrants shall issue, but upon probable cause, supported by Oath or affirmation, and
particularly describing the place to be searched, and the persons or things to be seized ."



                                          Ill. CLAIMS FOR RELIEF

I. PLAINTIFF HAS A SUBSTANTIAL PROBABILITY OF SUCCESS ON THE MERITS

15. Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b). All the events
alleged herein occurred in the State of Colorado, and all the parties were residents of and/or
domiciled in the State at the time of the events giving rise to this Complaint.

16. Plaintiff Ethel Susanne Halter seeks relief for violation of her right of privacy and her
right to be free of unreasonable Government search and seizure guaranteed by the United
States Constitution.



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17.   Ms. Halter incorporates all other paragraphs of this Complaint as if fully set forth herein.

18. At all relevant times hereto, the Individual Defendants were acting under the color of state
law in their capacities as Defendant law enforcement officers.

19. Each Individual Defendant played a knowing and necessary role in executing the Individual
Defendant's actions to negatively affect Ms. Halter's life by utilizing unconstitutional means.

20. The acts or omissions of each Defendant, including the unconstitutional policy, procedure,
custom and/or practice described herein, were the legal and proximate cause of Ms. Halter' s
injuries, losses, and damages.

21. Despite the fact what these Officers did is shocking and unconstitutional, it is assumable
to be consistent with how they were trained to carry out their duties by Defendant Weld County.

21. The Plaint iff brings this claim for the conscious pain and suffering, physical injuries, medical
expenses, and other damages sustained in an amount more than $15,000.00 which will be proven
at t rial.




22 . The Plaintiff brings this claim for stolen property, destruction of her home and vehicles, and
other damages sustained in an amount more than $15,000.00 which will be proven at tria l.




                                            PRAYER FOR RELIEF




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WHEREFORE, Ms. Halter respectfully requests that this Court enter judgment in her favor against
Defendants, and award her all relief as allowed by law, including but not limited to the following:

a) Appropriate relief at law and equity;
b) Declaratory relief, injunctive relief, and other appropriate equitable relief;
c) Compensatory and punitive damages on all claims allowed by law in an amount to be
determined at trial;
d) Attorneys' fees and the costs associated with this action on all claims pursuant to 42
U.S.C. §1988 and all applicable law;
e) Pre- and post-judgment interest at the appropriate lawful rate;
f) Any further relief this Court deems just and proper, and any other relief as allowed by law

I declare under penalty of perjury under the law of the State of Colorado that the foregoing
is true and correct.



DATED this 17th day of September 2019
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                                                     Ethe1 Susanne Halter
                                                     7200 E State Highway 14, Lot 5
                                                     Fort Collins, CO 80524
                                                     Telephone : (970) 988-0404
                                                     suehalter@gmail.com
                                                     Plaintiff, in Proper Person




                                                  Exhibit B
